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   SCHEDULE
      A
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                                SCHEDULE “A”
                          AUTHORITY FOR THE TAKING:

Tracts: RGV-MCS-1004, RGV-MCS-1004E-1, RGV-MCS-1004E-2, RGV-MCS-
1004E-3, and RGV-MCS-1005-2

The property is taken under and in accordance with the Act of Congress approved on

February 26, 1931, as 46 Stat. 1421 and codified at 40 U.S.C. Section 3114, and the Act of

Congress approved August 1, 1888, as 25 Stat. 357 and codified at 40 U.S.C. Section 3113,

and any acts supplementary thereto and amendatory thereof; the Act of Congress approved

September 30, 1996, as Public Law 104-208, Division C, Section 102, Stat. 3009-546,

3009-554, as amended and codified at 8 U.S.C. Section 1103(b) & note; and is funded

within the unit of limit of cost fixed by law, utilizing authorized appropriations available

for obligation within the FY of actual filing of the taking, for necessary authorized expenses

required to execute the Tactical Infrastructure Program of the U.S. Customs and Border

Protection mission.




                            Amended Declaration of Taking-8
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   SCHEDULE
      AA
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                               SCHEDULE “AA”
                          AUTHORITY FOR THE TAKING:

Tracts: RGV-MCS-1107, RGV-MCS-1108, RGV-MCS-1108-2 and RGV-MCS-
1108-3

The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114, which

authorize the condemnation of land and the filing of a Declaration of Taking; the Act of

Congress approved September 30, 1996, as Public Law 104-208, Division C, Section 102,

110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. § 1103(b) & note;

and the Act of Congress approved March 23, 2018, as Public Law 115-141, div. F, tit. II,

132 Stat. 348, and the Act of Congress approved February 15, 2019, as Public Law 116-6,

div. A, tit. II, Section 230, which appropriated the funds that shall be used for the taking.




                             Amended Declaration of Taking-9
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    SCHEDULE
      B & BB
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                                SCHEDULE “B” and “BB”
                                  PUBLIC PURPOSE:



The public purpose for which said land is taken is taken is to construct, install, operate, and

maintain roads, fencing, vehicle barriers, security lighting, and related structures designed

to help secure the United States/Mexico border within the State of Texas.




                            Amended Declaration of Taking-10
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   SCHEDULE
      CC
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                                    SCHEDULE “CC”

                                 LEGAL DESCRIPTION

                                  Hidalgo County, Texas

Tract: RGV-MCS-1004
Owner: Pamela Rivas
Acres: 0.3816

FIELD NOTES FOR 0.3816 ACRES OR 16,621 SQUARE FEET OF LAND, BEING A
PORTION OF LOT 101 (CALLED 2.48 ACRES) OF THE VILLAGE OF LOS EBANOS,
RECORDED IN VOLUME 13, PAGE 46, HIDALGO COUNTY MAP RECORDS
(H.C.M.R.), CONVEYED TO PAMELA RIVAS BY A DEED DATED MARCH 23,
2006, RECORDED IN DOCUMENT NUMBER 1594667 OF THE HIDALGO COUNTY
OFFICIAL RECORDS (H.C.O.R.) LOCATED IN HIDALGO COUNTY, TEXAS; SAID
0.3816 ACRE TRACT BEING MORE PARTICULARLY DESCRIBED BY METES
AND BOUNDS AS FOLLOWS:

BEGINNING at a found 1/2 inch iron rod for the northwest corner of the herein described
tract, being the northwest corner of said Lot 101, the southeast corner of Lot 340 of the
subdivision of Porciones 38, 39 and 40 recorded in Volume 4, Page 17-19 H.C.M.R.,
conveyed to Rodolfo M. Pena, Jr., et. al. by a deed dated October 10, 2003, recorded in
Document Number 1288402 H.C.O.R., the southwest corner of Section 5 of Lot 100
Village of Los Ebanos recorded in Volume 413, Page 269 of the Hidalgo County Deed
Records (H.C.D.R.), conveyed to Rene J. Pena by a deed dated August 21, 1988, recorded
in Volume 2652, Page 923 H.C.D.R. and the northeast corner of Lot 341 of said subdivision
of Porciones 38, 39 and 40, having coordinates of N = 16,612,938.70, E = 963,283.41;

THENCE, South 80 degrees 33 minutes 21 seconds East, along the north line of said Lot
101 and the south line of said Section 5, Lot 100, a distance of 46.75 feet to a 5/8 inch iron
rod with aluminum cap stamped “LCI”, set, for the northeast corner of the herein described
tract;

THENCE, South 30 degrees 14 minutes 11 seconds East, severing said Lot 101, a distance
of 107.44 feet to a 5/8 inch iron rod with aluminum cap stamped “LCI”, set, for an angle
point of the herein described tract;

THENCE, South 00 degrees 01 minutes 44 seconds West, severing said Lot 101, a distance
of 136.40 feet to a 5/8 inch iron rod with aluminum cap stamped “LCI”, set, for an angle
point of the herein described tract;

THENCE, South 23 degrees 05 minutes 49 seconds West, severing said Lot 101, a distance
of 42.25 feet to a 5/8 inch iron rod with aluminum cap stamped “LCI”, set, for the southeast
corner of the herein described tract, being on the south line of said Lot 101 and the north



                            Amended Declaration of Taking-11
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line of a called 3.0 acre tract of land conveyed to E. B. Reyna by a deed dated January 20,
1951 recorded in Instrument Number 1851 H.C.D.R.;

THENCE, North 80 degrees 33 minutes 21 seconds West, along the south line of said Lot
101 and the north line of said Reyna tract, a distance of 61.74 feet to a 5/8 inch iron rod
with aluminum cap stamped “LCI”, set, for the southwest corner of the herein described
tract, being on the south line of said Lot 101 and the north line of said Reyna tract;

THENCE, North 23 degrees 05 minutes 49 seconds East, severing said Lot 101, a distance
of 44.58 feet to a 5/8 inch iron rod with aluminum cap stamped “LCI”, set, for an angle
point of the herein described tract;

THENCE, North 00 degrees 01 minutes 44 seconds East, severing said Lot 101, a distance
of 107.92 feet to a 5/8 inch iron rod with aluminum cap stamped “LCI”, set, for an angle
point of the herein described tract;

THENCE, North 30 degrees 14 minutes 11 seconds West, severing said Lot 101, a distance
of 44.71 feet to a point;

THENCE, North 09 degrees 26 minutes 39 seconds East, severing said Lot 101, a distance
of 20.78 feet to a point;

THENCE, North 80 degrees 33 minutes 21 seconds West, severing said Lot 101, a distance
of 17.24 feet to a point;

THENCE, North 30 degrees 14 minutes 11 seconds West, severing said Lot 101, a distance
of 20.39 feet to a 5/8 inch iron rod with aluminum cap stamped “LCI”, set, for a westerly
corner of the herein described tract, being on the west line of said Lot 101 and the east line
of said Lot 341;

THENCE, North 09 degrees 26 minutes 39 seconds East, along the west line of said Lot
101 and the east line of said Lot 341, a distance of 37.63 feet to the POINT OF
BEGINNING and containing 0.3816 acre or 16,621 square feet of land.

Bearings and coordinates are referenced to the Texas Coordinate System, NAD83, South
Zone (4205) and referenced to Cooperative CORS Network Station AUGLIR, having
coordinates of N=16,664,165.44 & E=878,725.08. All coordinates and distances are U.S.
Survey Foot.


                                                                   Tract: RGV- MCS-1004




                            Amended Declaration of Taking-12
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   SCHEDULE
      DD
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                            SCHEDULE “DD”
Tract: RGV-MCS-1004
Owner: Pamela Rivas
Acres: 0.3816




                        LAND TO BE CONDEMNED




                      Amended Declaration of Taking-13
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    SCHEDULE
       CC
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                                  SCHEDULE “CC”

                               LEGAL DESCRIPTION

                                Hidalgo County, Texas

Tract: RGV-MCS-1004E-1
Owner: Pamela Rivas
Acres: 0.3958

FIELD NOTES FOR 0.3958 ACRES OR 17,240 SQUARE FEET OF LAND, BEING A
PORTION OF LOT 101 (CALLED 2.48 ACRES) OF THE VILLAGE OF LOS EBANOS
RECORDED IN VOLUME 13, PAGE 46, HIDALGO COUNTY MAP RECORDS
(H.C.M.R.), CONVEYED TO PAMELA RIVAS BY A DEED DATED MARCH 23,
2006, RECORDED IN DOCUMENT NUMBER 1594667 OF THE HIDALGO COUNTY
OFFICIAL RECORDS (H.C.O.R.) LOCATED IN HIDALGO COUNTY, TEXAS; SAID
0.3958 ACRE TRACT BEING MORE PARTICULARLY DESCRIBED BY METES
AND BOUNDS AS FOLLOWS:

COMMENCING at a found 1/2 inch iron rod for the northwest corner of said Lot 101, the
southeast corner of Lot 340 of the subdivision of Porciones 38, 39 and 40 recorded in
Volume 4, Page 17-19 H.C.M.R., conveyed to Rodolfo M. Pena, Jr., et. al. by a deed dated
October 10, 2003, recorded in Document Number 1288402 H.C.O.R., the southwest corner
of Section 5 of Lot 100 Village of Los Ebanos recorded in Volume 413, Page 269 of the
Hidalgo County Deed Records (H.C.D.R.), conveyed to Rene J. Pena by a deed dated
August 21, 1998, recorded in Volume 2652, Page 923 H.C.D.R. and the northeast corner
of Lot 341 of said subdivision of Porciones 38, 39 and 40, having coordinates of N =
16,612,938.70, E = 963,283.41;

THENCE, South 80 degrees 33 minutes 21 seconds East, along the north line of said Lot
101 and the south line of said Section 5, Lot 100, a distance of 46.75 feet;

THENCE, South 30 degrees 14 minutes 11 seconds East, a distance of 41.93 feet to a point,
for the POINT OF BEGINNING and the northwest corner of the herein described tract,
having coordinates of N = 16,612,894.80, E = 963,350.64;

THENCE, South 75 degrees 39 minutes 40 seconds East, a distance of 125.70 feet to a
point for an angle point of the herein described tract;

THENCE, South 67 degrees 23 minutes 20 seconds East, a distance of 71.40 feet to a point
for an angle point of the herein described tract;

THENCE, South 77 degrees 15 minutes 32 seconds East, a distance of 76.23 feet to a point
for an angle point of the herein described tract;




                          Amended Declaration of Taking-14
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THENCE, South 26 degrees 27 minutes 05 seconds East, a distance of 59.32 feet to a point
for an angle point of the herein described tract;
Tract: RGV-MCS-1004E-1

THENCE, South 01 degrees 07 minutes 46 seconds East, a distance of 149.14 feet to a
point for the southeast corner of the herein described tract, being on the south line of said
Lot 101 and the north line of a called 3.0 acre tract of land conveyed to E. B. Reyna by a
deed dated January 20, 1951 recorded in Instrument Number 1851 H.C.D.R.;

THENCE, North 80 degrees 33 minutes 21 seconds West, along the south line of said Lot
101 and the north line of said Reyna tract, a distance of 40.69 feet to a point for an angle
point of the herein described tract;

THENCE, North 01 degrees 07 minutes 46 seconds West, a distance of 132.68 feet to a
point for an angle point of the herein described tract;

THENCE, North 26 degrees 27 minutes 05 seconds West, a distance of 31.33 feet to a point
for an angle point of the herein described tract;

THENCE, North 77 degrees 15 minutes 32 seconds West, a distance of 60.69 feet to a point
for an angle point of the herein described tract;

THENCE, North 67 degrees 23 minutes 20 seconds West, a distance of 71.96 feet to a point
for an angle point of the herein described tract;

THENCE, North 75 degrees 39 minutes 40 seconds West, a distance of 83.40 feet to a point
for an angle point of the herein described tract;

THENCE, North 30 degrees 14 minutes 11 seconds West, a distance of 56.15 feet to the
POINT OF BEGINNING and containing 0.3958 acre or 17,240 square feet of land.

Bearings and coordinates are referenced to the Texas Coordinate System, NAD83, South
Zone (4205) and referenced to Cooperative CORS Network Station AUGLIR, having
coordinates of N=16,664,165.44 & E=878,725.08. All coordinates and distances are U.S.
Survey Foot.


                                                               Tract: RGV- MCS-1004E-1




                            Amended Declaration of Taking-15
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   SCHEDULE
      DD
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                            SCHEDULE “DD”
Tract: RGV-MCS-1004E-1
Owner: Pamela Rivas
Acres: 0.3958




                         LAND TO BE CONDEMNED


                      Amended Declaration of Taking-16
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                         SCHEDULE “DD” (Cont’d)
Tract: RGV-MCS-1004E-1
Owner: Pamela Rivas
Acres: 0.3958




                         LAND TO BE CONDEMNED


                      Amended Declaration of Taking-17
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                         SCHEDULE “DD” (Cont’d)
Tract: RGV-MCS-1004E-1
Owner: Pamela Rivas
Acres: 0.3958




                         LAND TO BE CONDEMNED

                      Amended Declaration of Taking-18
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    SCHEDULE
       CC
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                                  SCHEDULE “CC”

                               LEGAL DESCRIPTION

                                Hidalgo County, Texas

Tract: RGV-MCS-1004E-2
Owner: Pamela Rivas
Acres: 0.1135

FIELD NOTES FOR 0.1135 ACRES OR 4,945 SQUARE FEET OF LAND, BEING A
PORTION OF LOT 101 (CALLED 2.48 ACRES) OF THE VILLAGE OF LOS EBANOS
RECORDED IN VOLUME 13, PAGE 46, HIDALGO COUNTY MAP RECORDS
(H.C.M.R.), CONVEYED TO PAMELA RIVAS BY A DEED DATED MARCH 23,
2006, RECORDED IN DOCUMENT NUMBER 1594667 OF THE HIDALGO COUNTY
OFFICIAL RECORDS (H.C.O.R.) LOCATED IN HIDALGO COUNTY, TEXAS; SAID
0.1135 ACRE TRACT BEING MORE PARTICULARLY DESCRIBED BY METES
AND BOUNDS AS FOLLOWS:

COMMENCING at a found 1/2 inch iron rod for the northwest corner of said Lot 101, the
southeast corner of Lot 340 of the subdivision of Porciones 38, 39 and 40 recorded in
Volume 4, Page 17-19 H.C.M.R., conveyed to Rodolfo M. Pena, Jr., et. al. by a deed dated
October 10, 2003, recorded in Document Number 1288402 H.C.O.R., the southwest corner
of Section 5 of Lot 100 Village of Los Ebanos recorded in Volume 413, Page 269 of the
Hidalgo County Deed Records (H.C.D.R.), conveyed to Rene J. Pena by a deed dated
August 21, 1998, recorded in Volume 2652, Page 923 H.C.D.R. and the northeast corner
of Lot 341 of said subdivision of Porciones 38, 39 and 40, having coordinates of N =
16,612,938.70, E = 963,283.41;

THENCE, South 80 degrees 33 minutes 21 seconds East, along the north line of said Lot
101 and the south line of said Section 5, Lot 100, a distance of 46.75 feet;

THENCE, South 30 degrees 14 minutes 11 seconds East, a distance of 27.89 feet to a point,
for the POINT OF BEGINNING and the northwest corner of the herein described tract,
having coordinates of N = 16,612,906.93, E = 963,343.57;

THENCE, South 75 degrees 39 minutes 40 seconds East, a distance of 136.28 feet to a
point for an angle point of the herein described tract;

THENCE, South 67 degrees 23 minutes 20 seconds East, a distance of 71.26 feet to a point
for an angle point of the herein described tract;

THENCE, South 77 degrees 15 minutes 32 seconds East, a distance of 80.11 feet to a point
for an angle point of the herein described tract;




                          Amended Declaration of Taking-19
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THENCE, South 26 degrees 27 minutes 05 seconds East, a distance of 66.31 feet to a point
for an angle point of the herein described tract;

THENCE, South 01 degrees 07 minutes 46 seconds East, a distance of 153.25 feet to a
point for the southeast corner of the herein described tract, being on the south line of said
Lot 101 and the north line of a called 3.0 acre tract of land conveyed to E. B. Reyna by a
deed dated January 20, 1951 recorded in Instrument Number 1851 H.C.D.R.;

THENCE, North 80 degrees 33 minutes 21 seconds West, along the south line of said Lot
101 and the north line of said Reyna tract, a distance of 10.17 feet to a point for an angle
point of the herein described tract;

THENCE, North 01 degrees 07 minutes 46 seconds West, a distance of 149.14 feet to a
point for an angle point of the herein described tract;

THENCE, North 26 degrees 27 minutes 05 seconds West, a distance of 59.32 feet to a point
for an angle point of the herein described tract;

THENCE, North 77 degrees 15 minutes 32 seconds West, a distance of 76.23 feet to a point
for an angle point of the herein described tract;

THENCE, North 67 degrees 23 minutes 20 seconds West, a distance of 71.40 feet to a point
for an angle point of the herein described tract;

THENCE, North 75 degrees 39 minutes 40 seconds West, a distance of 125.70 feet to a
point for an angle point of the herein described tract;
.
THENCE, North 30 degrees 14 minutes 11 seconds West, a distance of 14.04 feet to the
POINT OF BEGINNING and containing 0.1135 acre or 4,945 square feet of land.

Bearings and coordinates are referenced to the Texas Coordinate System, NAD83, South
Zone (4205) and referenced to Cooperative CORS Network Station AUGLIR, having
coordinates of N=16,664,165.44 & E=878,725.08. All coordinates and distances are U.S.
Survey Foot.


                                                               Tract: RGV- MCS-1004E-2




                            Amended Declaration of Taking-20
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   SCHEDULE
      DD
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                            SCHEDULE “DD”
Tract: RGV-MCS-1004E-2
Owner: Pamela Rivas
Acres: 0.1135




                         LAND TO BE CONDEMNED



                      Amended Declaration of Taking-21
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                         SCHEDULE “DD” (Cont’d)
Tract: RGV-MCS-1004E-2
Owner: Pamela Rivas
Acres: 0.1135




                         LAND TO BE CONDEMNED


                      Amended Declaration of Taking-22
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                         SCHEDULE “DD” (Cont’d)
Tract: RGV-MCS-1004E-2
Owner: Pamela Rivas
Acres: 0.1135




                         LAND TO BE CONDEMNED


                      Amended Declaration of Taking-23
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    SCHEDULE
       CC
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                                  SCHEDULE “CC”

                               LEGAL DESCRIPTION

                                Hidalgo County, Texas

Tract: RGV-MCS-1004E-3
Owner: Pamela Rivas
Acres: 0.0844

DESCRIPTION FIELD NOTES FOR 0.0844 ACRES OR 3,678 SQUARE FEET OF
LAND, BEING A PORTION OF LOT 101 (CALLED 2.48 ACRES) OF THE VILLAGE
OF LOS EBANOS RECORDED IN VOLUME 13, PAGE 46, HIDALGO COUNTY MAP
RECORDS (H.C.M.R.), CONVEYED TO PAMELA RIVAS BY A DEED DATED
MARCH 23, 2006, RECORDED IN DOCUMENT NUMBER 1594667 OF THE
HIDALGO COUNTY OFFICIAL RECORDS (H.C.O.R.) LOCATED IN HIDALGO
COUNTY, TEXAS; SAID 0.0844 ACRE TRACT BEING MORE PARTICULARLY
DESCRIBED BY METES AND BOUNDS AS FOLLOWS:

COMMENCING at a found 1/2 inch iron rod for the northwest corner of said Lot 101, the
southeast corner of Lot 340 of the subdivision of Porciones 38, 39 and 40 recorded in
Volume 4, Page 17-19 H.C.M.R., conveyed to Rodolfo M. Pena, Jr., et. al. by a deed dated
October 10, 2003, recorded in Document Number 1288402 H.C.O.R., the southwest corner
of Section 5 of Lot 100 Village of Los Ebanos recorded in Volume 413, Page 269 of the
Hidalgo County Deed Records (H.C.D.R.), conveyed to Rene J. Pena by a deed dated
August 21, 1998, recorded in Volume 2652, Page 923 H.C.D.R. and the northeast corner
of Lot 341 of said subdivision of Porciones 38, 39 and 40, having coordinates of N =
16,612,938.70, E = 963,283.41;

THENCE, South 80 degrees 33 minutes 21 seconds East, along the north line of said Lot
101 and the south line of said Section 5, Lot 100, a distance of 46.75 feet;

THENCE, South 30 degrees 14 minutes 11 seconds East, a distance of 98.08 feet to a point,
for the POINT OF BEGINNING and the northwest corner of the herein described tract,
having coordinates of N = 16,612,846.29, E = 963,378.92;

THENCE, South 75 degrees 39 minutes 40 seconds East, a distance of 83.40 feet to a point
for an angle point of the herein described tract;

THENCE, South 67 degrees 23 minutes 20 seconds East, a distance of 71.96 feet to a point
for an angle point of the herein described tract;

THENCE, South 77 degrees 15 minutes 32 seconds East, a distance of 60.69 feet to a point
for an angle point of the herein described tract;




                          Amended Declaration of Taking-24
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THENCE, South 26 degrees 27 minutes 05 seconds East, a distance of 31.33 feet to a point
for an angle point of the herein described tract;

THENCE, South 01 degrees 07 minutes 46 seconds East, a distance of 132.68 feet to a
point for the southeast corner of the herein described tract, being on the south line of said
Lot 101 and the north line of a called 3.0 acre tract of land conveyed to E. B. Reyna by a
deed dated January 20, 1951 recorded in Instrument Number 1851 H.C.D.R.;

THENCE, North 80 degrees 33 minutes 21 seconds West, along the south line of said Lot
101 and the north line of said Reyna tract, a distance of 10.17 feet to a point for an angle
point of the herein described tract;

THENCE, North 01 degrees 07 minutes 46 seconds West, a distance of 128.57 feet to a
point for an angle point of the herein described tract;

THENCE, North 26 degrees 27 minutes 05 seconds West, a distance of 24.34 feet to a point
for an angle point of the herein described tract;

THENCE, North 77 degrees 15 minutes 32 seconds West, a distance of 56.80 feet to a point
for an angle point of the herein described tract;

THENCE, North 67 degrees 23 minutes 20 seconds West, a distance of 72.10 feet to a point
for an angle point of the herein described tract;

THENCE, North 75 degrees 39 minutes 40 seconds West, a distance of 75.26 feet to a point
for an angle point of the herein described tract;

THENCE, North 00 degrees 01 minutes 44 seconds East, a distance of 3.44 feet to a point
for an angle point of the herein described tract;

THENCE, North 30 degrees 14 minutes 11 seconds West, a distance of 9.35 feet to the
POINT OF BEGINNING and containing 0.0844 acre or 3,678 square feet of land.

Bearings and coordinates are referenced to the Texas Coordinate System, NAD83, South
Zone (4205) and referenced to Cooperative CORS Network Station AUGLIR, having
coordinates of N=16,664,165.44 & E=878,725.08. All coordinates and distances are U.S.
Survey Foot.

                                                               Tract: RGV- MCS-1004E-3




                            Amended Declaration of Taking-25
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   SCHEDULE
      DD
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                            SCHEDULE “DD”
Tract: RGV-MCS-1004E-3
Owner: Pamela Rivas
Acres: 0.0844




                         LAND TO BE CONDEMNED


                      Amended Declaration of Taking-26
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                         SCHEDULE “DD” (Cont’d)
Tract: RGV-MCS-1004E-3
Owner: Pamela Rivas
Acres: 0.0844




                         LAND TO BE CONDEMNED

                      Amended Declaration of Taking-27
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                         SCHEDULE “DD” (Cont’d)
Tract: RGV-MCS-1004E-3
Owner: Pamela Rivas
Acres: 0.0844




                         LAND TO BE CONDEMNED
                      Amended Declaration of Taking-28
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    SCHEDULE
       CC
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                                   SCHEDULE “CC”

                                LEGAL DESCRIPTION

                                  Hidalgo County, Texas

Tract: RGV-MCS-1005-2
Owner: Pamela Rivas
Acres: 0.004

FIELD NOTES FOR 0.004 ACRES OR 179 SQUARE FEET OF LAND, BEING A
PORTION OF LOT 101 (CALLED 2.48 ACRES) OF THE VILLAGE OF LOS EBANOS,
RECORDED IN VOLUME 13, PAGE 46, HIDALGO COUNTY MAP RECORDS
(H.C.M.R.), CONVEYED TO PAMELA RIVAS BY A DEED DATED MARCH 23,
2006, RECORDED IN DOCUMENT NUMBER 1594667 OF THE HIDALGO COUNTY
OFFICIAL RECORDS (H.C.O.R.) LOCATED IN HIDALGO COUNTY, TEXAS; SAID
0.004 ACRE TRACT BEING MORE PARTICULARLY DESCRIBED BY METES AND
BOUNDS AS FOLLOWS:

COMMENCING at a found 1/2 inch iron rod being the northwest corner of said Lot 101,
the southeast corner of Lot 340 of the subdivision of Porciones 38, 39 and 40 recorded in
Volume 4, Page 17-19 H.C.M.R., conveyed to Rodolfo M. Pena, Jr., et. al. by a deed dated
October 10, 2003, recorded in Document Number 1288402 H.C.O.R., the southwest corner
of Section 5 of Lot 100 Village of Los Ebanos recorded in Volume 413, Page 269 of the
Hidalgo County Deed Records (H.C.D.R.), conveyed to Rene J. Pena by a deed dated
August 21, 1988, recorded in Volume 2652, Page 923 H.C.D.R. and the northeast corner
of Lot 341 of said subdivision of Porciones 38, 39 and 40, having coordinates of N =
16,612,938.70, E = 963,283.41;

THENCE, South 09 degrees 26 minutes 39 seconds West along the west line of said Lot
101 and the east line of said Lot 341, a distance of 37.63 feet to a 5/8 inch iron rod with
aluminum cap stamped “LCI”, set on said east and west lines;

THENCE, departing said lines South 30 degrees 14 minutes 11 seconds East over and
across lot 101 a calculated distance of 20.39 feet to the POINT OF BEGINNING of herein
described tract and being the Northwest corner thereof;

THENCE, continuing across said lot the following three (3) calculated courses:

1) South 80 degrees 33 minutes 21 seconds East a distance of 17.24 feet to the northeast
corner of herein described tract;

2) South 09 degrees 26 minutes 39 seconds West a distance of 20.78 feet to the southeast
corner of herein described tract, said corner also being located North 30 degrees 14 minutes
39 seconds West a distance of 44.71 feet from a 5/8” iron rod with aluminum cap stamped
“LCI”;

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3) North 30 degrees 14 minutes 39 seconds West a distance of 27.00 feet to the POINT
OF BEGINNING and containing 0.004 acres or 179 square feet of land.

Bearings and coordinates are referenced to the Texas Coordinate System, NAD83, South
Zone (4205) and referenced to Cooperative CORS Network Station AUGLIR, having
coordinates of N=16,664,165.44 & E=878,725.08. All coordinates and distances are U.S.
Survey Foot.

                                                            Tract: RGV- MCS-1005-2




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   SCHEDULE
      DD
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                              SCHEDULE “DD”
Tract: RGV-MCS-1005-2
Owner: Pamela Rivas
Acres: 0.004




                          LAND TO BE CONDEMNED



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   SCHEDULE
      CCC
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                                    SCHEDULE “CCC”

                                 LEGAL DESCRIPTION

                                   Hidalgo County, Texas

Tract: RGV-MCS-1107
Owner: Pamela Rivas
Acres: 0.533

BEING a 0.533 acre (23,201 square feet) parcel of land, more or less, being out of a called
4.84 acre tract, said 4.84 acre tract being out of 5.45 acre tract of land, said 5.45 acre tract
of land being all of Tract 341 according to Decree of Partition of Porciones 38, 39, and 40,
Cause No. 2444, W.L. Hart et al, vs. A.J.J. Austin et al, in the District Court of Hidalgo
County, Texas, recorded in Volume 146, Page 28, Deed Records of Hidalgo County
(D.R.H.C.), Texas, said 4.84 acre tract recorded in Cause No. P-30,962, Official Records
of Hidalgo County (O.R.H.C.), Texas, conveyed to Pamela Rivas, said 0.533 acre (23,201
square feet) parcel of land being more particularly described as follows;

BEGINNING: at a point having a coordinate value of N=16612937.406, E=963286.446,
said point being S 16°11’34” E, a distance of 6405.39 feet from United States Corps of
Engineers Control Point No. HS04-2019 (“B&F Engineering, Inc.” aluminum cap in
concrete), said point being the northeast corner of said Pamela Rivas tract, the northwest
corner of a called 2.48 acre tract of land being Lot 101 of Village of Los Ebanos, recorded
in Volume 13, Page 47, Map Records of Hidalgo County (M.R.H.C.), Texas, the northwest
corner of a United States of America PF-225 tract (RGV-RGC-1004), the southwest corner
of Lot 5 of the Subdivision of Lot 100 of the Village of Los Ebanos, recorded in Volume
413, Page 269, Deed Records of Hidalgo County (D.R.H.C.), Texas, the southwest corner
of a United States of America PF-225 tract (RGV-MCS-1024), the southeast corner of
Tract 340 of said Decree of Partition of Porciones 38, 39, and 40, Cause No. 2444, the
southeast corner of a called 5.56 acre tract, recorded in Document No. 1247765, Official
Records of Hidalgo County (O.R.H.C.), Texas, conveyed to Maria Luisa Cavazos and
Rodolfo M. Pena, Jr., said point being the northeast corner of the herein described proposed
acquisition tract, said point also designated as “RGV-MCS-1105-1-1=RGV-MCS-1107-
1”;

THENCE: S 09°33’47” W, departing the south line of said Maria Luisa Cavazos and
Rodolfo M. Pena, Jr. tract, the south line of said Tract 340, the south line of said United
States of America tract (RGV-MCS-1024), the south line of said Lot 5, the north line of
said Pamela Rivas tract, the north line of said Tract 341, the north line of said United States
of America tract (RGV-MCS-1004), the north line of said Lot 101 and along the east line
of said Pamela Rivas tract, the east line of said Tract 341, the west line of said United States
of America tract (RGV-MCS-1004), the west line of said Lot 101, passing at 37.86 feet a
found 5/8” rebar for an external corner of said United States of America tract (RGV-MCS-
1004), the northwest corner of a surveyed 0.289 acre tract, recorded in Document No.
2006-1594667, conveyed to Pamela Rivas, in total distance of 258.16 feet to a point,

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designated “RGV-MCS-1107-2=RGV-MCS-1108-8=RGV-MCS-1115-5A” for the
southeast corner of the herein described proposed acquisition tract, said point being the
southwest corner of said Lot 101, the southwest corner of said 0.289 acre Pamela Rivas
tract, said point being on the north line of a called 3.0 acre tract, recorded in Cause No.
16,509-A, Official Records of Hidalgo County (O.R.H.C.), Texas, conveyed to Ediberto
Bruno Renya, Jr. and Elda Belinda Renya, described in Document No. 1851, Official
Records of Hidalgo County (O.R.H.C.), Texas;

THENCE: N 80°21’35” W, along the north line of said Ediberto Bruno Renya, Jr. and
Elda Belinda Renya tract and the south line of said 4.84 acre Pamela Rivas tract, a distance
of 8.61 feet to an external corner of said Ediberto Bruno Renya, Jr. and Elda Belinda Renya
tract and said 4.84 acre Pamela Rivas tract, designated “RGV-MCS-1107-3= RGV-MCS-
1115-5”;

THENCE: S 10°11’05” W, along the north line of said Ediberto Bruno Renya, Jr. and
Elda Belinda Renya tract and the south line of said 4.84 acre Pamela Rivas tract, a distance
of 18.59 feet to an external corner of said Ediberto Bruno Renya, Jr. and Elda Belinda
Renya tract and said 4.84 acre Pamela Rivas tract, designated “RGV-MCS-1107-4= RGV-
MCS-1115-4”;

THENCE: N 79°47’48” W, along the north line of said Ediberto Bruno Renya, Jr. and
Elda Belinda Renya tract and the south line of said 4.84 acre Pamela Rivas tract, a distance
of 16.56 feet to a set 5/8” rebar with a “B&F Engineering, Inc.” aluminum cap stamped
“RGV-MCS-1107-5= RGV-MCS-1115-3” for the southwest corner of the herein described
proposed acquisition tract;

THENCE: N 10°48’42” W, departing the north line of said Ediberto Bruno Renya, Jr. and
Elda Belinda Renya tract and the south line of said 4.84 acre Pamela Rivas tract, over and
across said 4.84 acre Pamela Rivas tract, a distance of 241.30 feet to a set 5/8” rebar with
a “B&F Engineering, Inc.” aluminum cap stamped “RGV-MCS-1107-6” for an angle
point;

THENCE: N 54°33’01” W, over and across said 4.84 acre Pamela Rivas tract, a distance
of 115.35 feet to a set 5/8” rebar with a “B&F Engineering, Inc.” aluminum cap stamped
“RGV-MCS-1105-1-2=RGV-RGC-1107-7” for the northwest corner of the herein
described proposed acquisition tract, said point being on the north line of said 4.84 acre
Pamela Rivas tract, the north line of said Tract 341, the south line of said Maria Luisa
Cavazos and Rodolfo M. Pena, Jr. tract and the south line of said Tract 340;

THENCE: S 80°26’05” E, along the north line of said 4.84 acre Pamela Rivas tract, the
north line of said Tract 341, the south line of said Maria Luisa Cavazos and Rodolfo M.
Pena, Jr. tract and the south line of said Tract 340, a distance of 213.15 feet to the POINT
OF BEGINNING and containing said 0.533 acre (23,201 square feet) of land, more or
less.

                                                                  Tract: RGV- MCS-1107

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  SCHEDULE
     DDD
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                            SCHEDULE “DDD”
Tract: RGV-MCS-1107
Owner: Pamela Rivas
Acres: 0.533




                        LAND TO BE CONDEMNED


                      Amended Declaration of Taking-34
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                       SCHEDULE “DDD” (Cont’d)
Tract: RGV-MCS-1107
Owner: Pamela Rivas
Acres: 0.533




                        LAND TO BE CONDEMNED

                      Amended Declaration of Taking-35
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                       SCHEDULE “DDD” (Cont’d)
Tract: RGV-MCS-1107
Owner: Pamela Rivas
Acres: 0.533




                        LAND TO BE CONDEMNED

                      Amended Declaration of Taking-36
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    SCHEDULE
       CCC
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                                    SCHEDULE “CCC”

                                 LEGAL DESCRIPTION

                                   Hidalgo County, Texas

Tract: RGV-MCS-1108
Owner: Pamela Rivas
Acres: 0.285

BEING a surveyed 0.285 acre (12,419 square feet) parcel of land, more or less, being out
of Lot 101 of Village of Los Ebanos, recorded in Volume 13, Page 47, Map Records of
Hidalgo County (M.R.H.C.), Texas, said Lot 101 being a 2.48 acre tract recorded in
Document No. 2006-1594667, Official Records of Hidalgo County (O.R.H.C.), Texas,
conveyed to Pamela Rivas, said 0.285 acre (12,419 square feet) parcel of land being more
particularly described as follows;

COMMENCING: at a point having a coordinate value of N=16612937.406,
E=963286.446, said point being the northeast corner of a called 4.84 acre tract, said 4.84
acre tract being out of 5.45 acre tract of land, said 5.45 acre tract of land being all of Tract
341 according to Decree of Partition of Porciones 38, 39, and 40, Cause No. 2444, W.L.
Hart et al, vs. A.J.J. Austin et al, in the District Court of Hidalgo County, Texas, recorded
in Volume 146, Page 28, Deed Records of Hidalgo County (D.R.H.C.), Texas, said 4.84
acre tract recorded in Cause No. P-30,962, Official Records of Hidalgo County (O.R.H.C.),
Texas, conveyed to Pamela Rivas, the northwest corner of said Lot 101, the northwest
corner of a United States of America PF-225 tract (RGV-RGC-1004), the southwest corner
of Lot 5 of the Subdivision of Lot 100 of the Village of Los Ebanos, recorded in Volume
413, Page 269, Deed Records of Hidalgo County (D.R.H.C.), Texas, the southwest corner
of a United States of America PF-225 tract (RGV-MCS-1024), the southeast corner of
Tract 340 of said Decree of Partition of Porciones 38, 39, and 40, Cause No. 2444, the
southeast corner of a called 5.56 acre tract, recorded in Document No. 1247765, Official
Records of Hidalgo County (O.R.H.C.), Texas, conveyed to Maria Luisa Cavazos and
Rodolfo M. Pena, Jr., said point also designated as “RGV-MCS-1105-1-1=RGV-MCS-
1107-1”;

THENCE: S 09°33’47” W, departing the south line of said Maria Luisa Cavazos and
Rodolfo M. Pena, Jr. tract, the south line of said Tract 340, the south line of said United
States of America tract (RGV-MCS-1024), the south line of said Lot 5, the north line of
said Pamela Rivas tract, the north line of said Tract 341, the north line of said United States
of America tract (RGV-MCS-1004), the north line of said Lot 101 and along the east line
of said 4.84 acre Pamela Rivas tract, the east line of said Tract 341, the west line of said
United States of America tract (RGV-MCS-1004), the west line of said Lot 101, a distance
of 37.85 feet a found 5/8” rebar, designated “RGV-MCS-1108-1” for POINT OF
BEGINNING, having a coordinate value of N=16612900.080, E=963280.157, said point
also being S 16°02’48” E, a distance of 6439.50 feet from United States Corps of Engineers
Control Point No. HS04-2019 (“B&F Engineering, Inc.” aluminum cap in concrete), said

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point being the northwest corner of the herein described proposed acquisition tract, said
point also being an external corner of said United States of America tract (RGV-MCS-
1004);

THENCE: S 30°15’38” E, departing the east line of said 4.84 acre Pamela Rivas tract, the
west line of said 0.285 acre Pamela Rivas tract and along the north line of said 0.285 acre
Pamela Rivas tract and along the west line of said United States of America tract (RGV-
MCS-1004), a distance of 92.19 feet to an angle point, designated “RGV-MCS-1108-5”
for the northeast corner of the herein described proposed acquisition tract;

THENCE: S 00°00’17” W, along the east line of said 0.285 acre Pamela Rivas tract and
along the west line of said United States of America tract (RGV-MCS-1004), a distance of
107.81 feet to a found 1” pipe with a 1” aluminum cap, designated “RGV-MCS-1108-6”
for an angle point;

THENCE: S 23°09’36” W, along the east line of said 0.285 acre Pamela Rivas tract and
along the west line of said United States of America tract (RGV-MCS-1004), a distance of
44.53 feet to a found 1” pipe with a 1” aluminum cap, designated “RGV-MCS-1108-7” for
southeast corner of the herein described proposed acquisition tract, said point being the
southeast corner line of said 0.285 acre Pamela Rivas tract, said point also being on the
south line of said Lot 101, the north line of a called 3.0 acre tract, recorded in Cause No.
16,509-A, Official Records of Hidalgo County (O.R.H.C.), Texas, conveyed to Ediberto
Bruno Renya, Jr. and Elda Belinda Renya, described in Document No. 1851, Official
Records of Hidalgo County (O.R.H.C.), Texas, said point also being the southwest corner
of said United States of America tract (RGV-MCS-1004) and the northwest corner of a
United States of America PF-225 tract (RGV-MCS-1005);

THENCE: N 80°21’35” W, departing the west line of said United States of America tract
(RGV-MCS-1004) and along the south line of said 0.285 acre Pamela Rivas tract, the south
line of said Lot 101 and the north line of said Ediberto Bruno Renya, Jr. and Elda Belinda
Renya tract, a distance of 66.47 feet to an angle point, designated “RGV-MCS-1107-
2=RGV-MCS-1108-8=RGV-MCS-1115-5A” for the southwest corner of the herein
described proposed acquisition tract, said point being the southwest corner of said Lot 101
and the southeast corner of said 4.84 acre Pamela Rivas tract;

THENCE: N 09°33’47” E, departing the north line of said Ediberto Bruno Renya, Jr. and
Elda Belinda Renya tract, the south line of said Lot 101 and along the east line of said 4.84
acre Pamela Rivas tract, the east line of said Tract 341, the west line of said 0.285 acre
Pamela Rivas tract and the west line of said Lot 101, a distance of 220.31 feet to the POINT
OF BEGINNING and containing said 0.285 acre (12,419 square feet) of land, more or
less.

                                                                   Tract: RGV- MCS-1108




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    SCHEDULE
       DDD
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                            SCHEDULE “DDD”
Tract: RGV-MCS-1108
Owner: Pamela Rivas
Acres: 0.285




                        LAND TO BE CONDEMNED


                      Amended Declaration of Taking-39
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                       SCHEDULE “DDD” (Cont’d)
Tract: RGV-MCS-1108
Owner: Pamela Rivas
Acres: 0.285




                        LAND TO BE CONDEMNED

                      Amended Declaration of Taking-40
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                       SCHEDULE “DDD” (Cont’d)
Tract: RGV-MCS-1108
Owner: Pamela Rivas
Acres: 0.285




                        LAND TO BE CONDEMNED


                      Amended Declaration of Taking-41
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   SCHEDULE
      CCC
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                                  SCHEDULE “CCC”

                                LEGAL DESCRIPTION

                                  Hidalgo County, Texas

Tract: RGV-MCS-1108-2
Owner: Pamela Rivas
Acres: 0.727

BEING a surveyed 0.727 acre (31,681 square feet) parcel of land, more or less, being out
of a surveyed 11.47 acre tract, recorded in Document No. 2006-1594667, Official Records
of Hidalgo County (O.R.H.C.), Texas, conveyed to Pamela Rivas, said 11.47 acre tract of
land being out of Tract 342 according to Decree of Partition of Porciones 38, 39, and 40,
Cause No. 2444, W.L. Hart et al, vs. A.J.J. Austin et al, in the District Court of Hidalgo
County, Texas, recorded in Volume 146, Page 28, Deed Records of Hidalgo County
(D.R.H.C.), Texas, said 0.727 acre (31,680 square feet) parcel of land being more
particularly described as follows;

BEGINNING: at a 5/8” rebar with an aluminum cap, designated “RGV-MCS-1100-2-
1=RGV-MCS-1108-2-1” having a coordinate value of N=16612366.300, E=963774.877,
said point being S 18°41’41” E, a distance of 7096.81 feet from United States Corps of
Engineers Control Point No. HS04-2019 (“B&F Engineering, Inc.” aluminum cap in
concrete), said point being the northeast corner of said Pamela Rivas tract, the northwest
corner of a surveyed 82.40 acre tract of land, recorded in Document No. 1998-663480,
Official Records of Hidalgo County (O.R.H.C.), Texas, conveyed to the United States of
America (U.S. Fish and Wildlife Service) (Tract 452A) and the southeast corner of a United
States of America PF-225 tract (RGV-MCS-1007), said point being the northeast corner of
the herein described proposed acquisition tract;

THENCE: S 09°27’24” W, along the east line of said Pamela Rivas tract and the west line
of said United States of America tract (Tract 452A), a distance of 191.65 feet to a set 5/8”
rebar with a “B&F Engineering, Inc.” aluminum cap, stamped “RGV-MCS-1100-2-
9=RGV-MCS-1108-2-2” for the southeast corner of the herein described proposed
acquisition tract;

THENCE: N 80°46’56” W, departing east line of said Pamela Rivas tract and the west
line of said United States of America tract (Tract 452A), over and across said Pamela Rivas
tract, a distance of 157.82 feet to a set 5/8” rebar with a “B&F Engineering, Inc.” aluminum
cap, stamped “RGV-MCS-1108-2-3” for the southwest corner of the herein described
proposed acquisition tract, said point being on the west line of said Pamela Rivas tract and
the east line of a United States of America PF-225 tract (RGV-RGC-1006-4);

THENCE: N 09°37’37” E, along the west line of said Pamela Rivas tract and the east line
of said United States of America PF-225 tract (RGV-MCS-1006-4), a distance of 224.05



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feet to a set 5/8” rebar with a “B&F Engineering, Inc.” aluminum cap, stamped “RGV-
MCS-1108-2-4” for the northwest corner of the herein described proposed acquisition tract;

THENCE: S 82°31’47” E, departing the west line of said Pamela Rivas tract and the east
line of said United States of America PF-225 tract (RGV-MCS-1006-4), over and across
said Pamela Rivas tract, a distance of 44.17 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap, stamped “RGV-MCS-1108-2-5” for an angle point, said
point being on the north line of said Pamela Rivas tract and the northwest corner of said
United States of America PF-225 tract (RGV-RGC-1007);

THENCE: S 09°26’21” W, along the north line of said Pamela Rivas tract and the west
line of said United States of America PF-225 tract (RGV-MCS-1007), a distance of 33.27
feet to a set 5/8” rebar with a “B&F Engineering, Inc.” aluminum cap, stamped “RGV-
MCS-1108-2-6” for an angle point, said point being the southwest corner of said United
States of America PF-225 tract (RGV-RGC-1007);

THENCE: S 80°32’36” E, along the north line of said Pamela Rivas tract and along the
south line of said United States of America PF-225 tract (RGV-MCS-1007), a distance of
113.00 feet to the POINT OF BEGINNING and containing said 0.727 acre (31,681 square
feet) of land, more or less.
                                                             Tract: RGV- MCS-1108-2




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    SCHEDULE
       DDD
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                              SCHEDULE “DDD”
Tract: RGV-MCS-1108-2
Owner: Pamela Rivas
Acres: 0.727




                          LAND TO BE CONDEMNED


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                         SCHEDULE “DDD” (Cont’d)
Tract: RGV-MCS-1108-2
Owner: Pamela Rivas
Acres: 0.727




                          LAND TO BE CONDEMNED

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                         SCHEDULE “DDD” (Cont’d)
Tract: RGV-MCS-1108-2
Owner: Pamela Rivas
Acres: 0.727




                          LAND TO BE CONDEMNED



                        Amended Declaration of Taking-46
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   SCHEDULE
      CCC
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                                    SCHEDULE “CCC”

                                 LEGAL DESCRIPTION

                                   Hidalgo County, Texas

Tract: RGV-MCS-1108-3
Owner: Pamela Rivas
Acres: 0.119

BEING a 0.119 acre (5,177 square feet) parcel of land, more or less, being out of a
surveyed 1.813 acre tract recorded in Document No. 2006-1594667, Official Records of
Hidalgo County (O.R.H.C.), Texas, conveyed to Pamela Rivas, said surveyed 1.813 acre
tract being out of Lot 101 of Village of Los Ebanos, recorded in Volume 13, Page 47, Map
Records of Hidalgo County (M.R.H.C.), Texas, said 0.119 acre (5,177 square feet) parcel
of land being more particularly described as follows;

COMMENCING: at a point having a coordinate value of N=16612937.406,
E=963286.446, said point being the northeast corner of a called 4.84 acre tract, said 4.84
acre tract being out of 5.45 acre tract of land, said 5.45 acre tract of land being all of Tract
341 according to Decree of Partition of Porciones 38, 39, and 40, Cause No. 2444, W.L.
Hart et al, vs. A.J.J. Austin et al, in the District Court of Hidalgo County, Texas, recorded
in Volume 146, Page 28, Deed Records of Hidalgo County (D.R.H.C.), Texas, said 4.84
acre tract recorded in Cause No. P-30,962, Official Records of Hidalgo County (O.R.H.C.),
Texas, conveyed to Pamela Rivas, the northwest corner said Lot 101, the northwest corner
of a United States of America PF-225 tract (RGV-RGC-1004), recorded in Document No.
2013-2463053, Official Records of Hidalgo County (O.R.H.C.), Texas, the southwest
corner of Lot 5 of the Subdivision of Lot 100 of the Village of Los Ebanos, recorded in
Volume 413, Page 269, Deed Records of Hidalgo County (D.R.H.C.), Texas, the southwest
corner of a United States of America PF-225 tract (RGV-MCS-1024), the southeast corner
of Tract 340 of said Decree of Partition of Porciones 38, 39, and 40, Cause No. 2444, the
southeast corner of a called 5.56 acre tract, recorded in Document No. 1247765, Official
Records of Hidalgo County (O.R.H.C.), Texas, conveyed to Maria Luisa Cavazos and
Rodolfo M. Pena, Jr.;

THENCE: S 80°26’05” E, departing the east line of said Maria Luisa Cavazos and Rodolfo
M. Pena, Jr. tract, the east line of said Tract 340, the east line of said 4.84 acre Pamela
Rivas tract and along the south line of said Lot 5, the south line of said United States of
America tract (RGV-MCS-1024), the north line of said Lot 101, the north line of said
United States of America tract (RGV-MCS-1004), a distance of 46.76 feet to a found 1”
pipe with a 1” aluminum cap, designated “RGV-MCS-1106-1=RGV-MCS-1108-3-1” for
POINT OF BEGINNING, having a coordinate value of N=16612929.637,
E=963332.551, said point also being S 16°34’06” E, a distance of 6425.85 feet from United
States Corps of Engineers Control Point No. HS04-2019 (“B&F Engineering, Inc.”
aluminum cap in concrete), said point being the northwest corner of the herein described
proposed acquisition tract, said point being the northeast corner of said United States of

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America tract (RGV-MCS-1004), said point being the northwest corner of said 1.813 acre
Pamela Rivas tract and the southwest corner of a surveyed 2.419 acre tract, recorded in
Document No. 1897406, Official Records of Hidalgo County (O.R.H.C.), Texas, conveyed
to Graciela P. Reyna and Raquel Martinez;

THENCE: S 80°26’05” E, departing the west line of said United States of America tract
(RGV-MCS-1004) and along the south line of said Lot 5, the south line of said Graciela P.
Reyna and Raquel Martinez tract, the north line of said Lot 101 and the north line of said
1.813 acre Pamela Rivas tract; a distance of 38.52 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap stamped “RGV-MCS-1106-6=RGV-MCS-1108-3-2” for
the northeast corner of the herein described proposed acquisition tract;

THENCE: S 10°48’42” E, departing the south line of said Lot 5, the south line of said
Graciela P. Reyna and Raquel Martinez tract, the north line of said Lot 101 and the north
line of said 1.813 acre Pamela Rivas tract, over and across said 1.813 acre Pamela Rivas
tract, passing at 36.57 feet the north line of a United States of America PF-225 easement
tract RGV-MCS-1004E-1, recorded in Document No. 2013-2463053, Official Records of
Hidalgo County (O.R.H.C.), Texas, passing at 80.78 feet the south line of said RGV-MCS-
1004E-1 tract, in total a distance of 275.65 feet to a set 5/8” rebar with a “B&F Engineering,
Inc.” aluminum cap stamped “RGV-MCS-1108-3-3=RGV-MCS-1115-6” for the southeast
corner of the herein described proposed acquisition tract, said point being on the south line
of said 1.813 acre Pamela Rivas tract, the south line of said Lot 101 and the north line of a
called 3.0 acre tract, recorded in Cause No. 16,509-A, Official Records of Hidalgo County
(O.R.H.C.), Texas, conveyed to Ediberto Bruno Renya, Jr. and Elda Belinda Renya,
described in Document No. 1851, Official Records of Hidalgo County (O.R.H.C.), Texas;

THENCE: N 80°21’35” W, along the south line of said 1.813 acre Pamela Rivas tract, the
south line of said Lot 101 and the north line of said Ediberto Bruno Renya, Jr. and Elda
Belinda Renya tract, a distance of 53.10 feet to a found 1” pipe with a 1” aluminum cap,
designated “RGV-RGC-1108-3-4=RGV-RGC-1115-5B” for the southwest corner of the
herein described proposed acquisition tract, said point being the southwest corner of said
1.813 acre Pamela Rivas tract, the southeast corner of said United States of America tract
(RGV-MCS-1004) and the northeast corner of United States of America PF-225 tract
(RGV-MCS-1005), recorded in Document No. 2014-2515005, Official Records of Hidalgo
County (O.R.H.C.), Texas;

THENCE: N 23°13’05” E, departing the south line of said 1.813 acre Pamela Rivas tract,
the south line of said Lot 101, the north line of said Ediberto Bruno Renya, Jr. and Elda
Belinda Renya tract and along the west line of said 1.813 acre Pamela Rivas tract and the
east line of said United States of America tract (RGV-MCS-1004), a distance of 42.42 feet
to a found 1” pipe with a 1” aluminum cap, designated “RGV-RGC-1108-3-5”;

THENCE: N 00°00’22” E, along the west line of said 1.813 acre Pamela Rivas tract and
the east line of said United States of America tract (RGV-MCS-1004), a distance of 136.27
feet to an angle point, designated “RGV-RGC-1108-3-6”;



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THENCE: N 30°10’22” W, along the west line of said 1.813 acre Pamela Rivas tract and
the east line of said United States of America tract (RGV-MCS-1004), passing at 9.55 feet
the south line of said RGV-MCS-1004E-1 tract, passing at 65.68 feet the north line of said
RGV-MCS-1004E-1 tract, in total a distance of 107.59 feet to the POINT OF
BEGINNING and containing said 0.119 acre (5,177 square feet) of land, more or less.

                                                              Tract: RGV- MCS-1108-3




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    SCHEDULE
       DDD
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                              SCHEDULE “DDD”
Tract: RGV-MCS-1108-3
Owner: Pamela Rivas
Acres: 0.119




                          LAND TO BE CONDEMNED


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                         SCHEDULE “DDD” (Cont’d)
Tract: RGV-MCS-1108-3
Owner: Pamela Rivas
Acres: 0.119




                          LAND TO BE CONDEMNED



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                         SCHEDULE “DDD” (Cont’d)
Tract: RGV-MCS-1108-3
Owner: Pamela Rivas
Acres: 0.119




                          LAND TO BE CONDEMNED

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    SCHEDULE
      E & EE
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                               SCHEDULE “E” and “EE”

                                  ESTATE TAKEN
                            FEE, EXCLUDING MINERALS

Tracts: RGV-MCS-1004 and RGV-MCS-1005-2

The estate taken is fee simple, subject to existing easements for public roads and highways,
public utilities, railroads, and pipelines; excepting and excluding all interest in the rights
appurtenant thereto; reserving the following rights and interest in the property being
acquired by the United States and described herein: a perpetual right-of-way on both sides
of the Federal border barrier for the purpose of gaining access to condemnee’s land on the
other side of the border barrier; and, the United States grants to the condemnee a perpetual
right-of-way across other lands of the United States along and on both sides of the border
barrier to reach and utilize the nearest border barrier gate for the purpose of accessing
condemnee’s lands on the other side. The purpose of this provision is to clarify that the
United States is not prohibiting access to condemnee’s remaining lands between the border
barrier and the Rio Grande River, but is providing a permanent right-of-way to condemnee
and all landowners similarly situated to access the nearest border barrier gate which allows
entry to the other side of the border barrier from which unacquired land can be accessed.

The estate taken except and excludes all interests in minerals and in water distribution and
drainage systems, provided that any surface rights arising from the excluded interest in
water distribution and drainage systems are subordinated to the construction, operation and
maintenance of the border barrier.




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                                     SCHEDULE “E”

                                 ESTATE TAKEN
                           PERPETUAL ROAD EASEMENT

Tract: RGV-MCS-1004E-1

A perpetual and assignable easement and right-of-way in, over and across the land
described in Schedule “C” for the location, construction, operation, maintenance, alteration
and replacement of a road and appurtenances thereto; together with the right to trim or
remove any vegetative or structural obstacles that interfere with the right-of-way; subject
to minerals and rights appurtenant thereto, and to existing easements for public roads,
highways, public utilities, railroads and pipelines; reserving, however, to the owners, their
successors and assigns, the right to use the surface of such land as access to their adjoining
land or for any other use consistent with its use as a road.




                            Amended Declaration of Taking-54
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                                     SCHEDULE “E”

                               ESTATE TAKEN
                         TEMPORARY ACCESS EASEMENT

Tracts: RGV-MCS-1004E-2 and RGV-MCS-1004E-3

A temporary and assignable easement and right-of-way in, over and across the land
described in Schedule “C” for a period not to exceed 24 months, beginning with date
possession of the land is granted to the United States, for the location, construction,
operation, maintenance, alteration and replacement of roads and appurtenances thereto;
together with the right to trim or remove any vegetative or structural obstacles that interfere
with the right-of-way; subject to minerals and rights appurtenant thereto, and to existing
easements for public roads, highways, public utilities, railroads and pipelines; reserving,
however, to the owners, their successors and assigns, the right to use the surface of such
land as access to their adjoining land or for any other use consistent with its use as a road.




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    SCHEDULE
       EEE
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                                  SCHEDULE “EEE”

                                  ESTATE TAKEN
                            FEE, EXCLUDING MINERALS
Tract: RGV-MCS-1107

The estate taken is fee simple, subject to existing easements for public roads and highways,
public utilities, railroads, and pipelines; and subject to all interests in minerals and
appurtenant rights for exploration, development, production and removal of said minerals;
Reserving to the owner of land described in Cause No. P-30,962, recorded with the Official
Records of Hidalgo County (O.R.H.C.), Texas on 30 June 2006, reasonable access to and
from the owners’ lands lying between the Rio Grande River and the border barrier through
opening(s) or gate(s) in the border barrier between the westernmost mark labeled
“Beginning” and easternmost mark labeled “Ending” depicted on the map below;
Excepting and excluding all interests in water rights and water distribution and drainage
systems, if any, provided that any surface rights arising from such water rights or systems
are subordinated to the United States’ construction, operation and maintenance of the
border barrier.




                           Amended Declaration of Taking-56
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                                  SCHEDULE “EEE”

                                  ESTATE TAKEN
                            FEE, EXCLUDING MINERALS
Tract: RGV-MCS-1108


The estate taken is fee simple, subject to existing easements for public roads and highways,
public utilities, railroads, and pipelines; and subject to all interests in minerals and
appurtenant rights for exploration, development, production and removal of said minerals;
Reserving to the owner of land described in Document No. 2006-1594667, recorded with
the Official Records of Hidalgo County (O.R.H.C.), Texas on 24 March 2006, reasonable
access to and from the owners’ lands lying between the Rio Grande River and the border
barrier through opening(s) or gate(s) in the border barrier between the westernmost mark
labeled “Beginning” and easternmost mark labeled “Ending” depicted on the map below;
Excepting and excluding all interests in water rights and water distribution and drainage
systems, if any, provided that any surface rights arising from such water rights or systems
are subordinated to the United States’ construction, operation and maintenance of the
border barrier.




                           Amended Declaration of Taking-57
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                                  SCHEDULE “EEE”

                                  ESTATE TAKEN
                            FEE, EXCLUDING MINERALS

Tracts: RGV-MCS-1108-2 and RGV-MCS-1108-3

The estate taken is fee simple, subject to existing easements for public roads and highways,
public utilities, railroads, and pipelines; and subject to all interests in minerals and
appurtenant rights for exploration, development, production and removal of said minerals;
Excepting and excluding all interests in water rights and water distribution and drainage
systems, if any, provided that any surface rights arising from such water rights or systems
are subordinated to the United States’ construction, operation and maintenance of the
border barrier.




                           Amended Declaration of Taking-58
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   SCHEDULE
   F, FF, & FFF
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                     SCHEDULE “F”, "FF" and “FFF”
                    ESTIMATE OF JUST COMPENSATION
Tracts: RGV-MCS-1004, RGV-MCS-1004E-1, RGV-MCS-1004E-2, RGV-
MCS-1004E-3, RGV-MCS-1005-2, RGV-MCS-1107, RGV-MCS-1108, RGV-
MCS-1108-2 and RGV-MCS-1108-3:
The sum of FIVE THOUSAND AND FIVE HUNDRED DOLLARS ($5,500.00)
was previously deposited with the Court for the use and benefit of the persons
entitled thereto. The sum of TWENTY SIX THOUSAND ONE HUNDRED AND
FIFTY DOLLARS AND NO/100 ($26,150.00) is the current estimate of just
compensation for all interest in real property described herein The additional sum
of TWENTY THOUSAND SIX HUNDRED AND FIFTY DOLLARS AND
NO/100 ($20,650.00), will be deposited herewith in the registry of said Court for
the use and benefit of the persons entitled therein.

WITH RESPECT TO TRACTS RGV- MCS-1004, RGV-MCS-1004E-1, RGV-
MCS-1004E-2, RGV-MCS-1004E-3 and RGV-MCS-1005-2:
The sum estimated as just compensation for the land acquired is FIVE
THOUSAND AND FIVE HUNDRED DOLLARS AND NO/100 ($5,500.00), to
be deposited herewith in the registry of said Court for the use and benefit of the
persons entitled thereto.

WITH RESPECT TO TRACT RGV-MCS-1107 AND RGV-MCS-1108:
The sum estimated as just compensation for the land acquired is FOUR
THOUSAND SIX HUNDRED AND TEN DOLLARS AND NO/100 ($4,610.00),
to be deposited herewith in the registry of said Court for the use and benefit of
the persons entitled thereto.

WITH RESPECT TO TRACT RGV-MCS-1108-2:
The sum estimated as just compensation for the land acquired is FIFTEEN
THOUSAND FIVE HUNDRED AND FORTY DOLLARS AND NO/100
($15,540.00), to be deposited herewith in the registry of said Court for the use
and benefit of the persons entitled thereto.

WITH RESPECT TO TRACT RGV-MCS-1108-3:
The sum estimated as just compensation for the land acquired is FIVE
HUNDRED DOLLARS AND NO/100 ($500.00), to be deposited herewith in the
registry of said Court for the use and benefit of the persons entitled thereto.




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     SCHEDULE
       GGG
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                               SCHEDULE “GGG”
            NAMES AND ADDRESSES OF INTERESTED PARTIES:

Tracts: RGV-MCS-1004, RGV-MCS-1004E-1, RGV-MCS-1004E-2, RGV-
MCS-1004E-3 and RGV-MCS-1005-2:

Pamela Rivas

Edinburg, TX 78542-5278

Tracts: RGV-MCS-1107, RGV-MCS-1108 and RGV-MCS-1108-2:

Pamela Rivas

Edinburg, TX 78542-5278

Pablo Villarreal, Jr.
Tax Assessor-Collector for Hidalgo County, Texas
Administration Building
2804 South U.S. Highway 281
Edinburg, Texas 78539

Tract RGV-MCS-1108-3:

Pamela Rivas

Edinburg, TX 78542-5278

Pablo Villarreal, Jr.
Tax Assessor-Collector for Hidalgo County, Texas
Administration Building
2804 South U.S. Highway 281
Edinburg, Texas 78539

TLF National Tax Lien Trust 2017-1
500 Plaza on the Lk Ste 180
Austin, TX 78746




                          Amended Declaration of Taking-60
